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United States District Court for the Northern District of Texas

 

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~ » r ,’ _j 1 ~_M:L_,,/
Rusty Donelson, Plaintiff ""’”""
v
City of Amari|lo, Defendant
V Civi| Action No.

undisclosed catalyst Project z,,, 1 8 CV .. 0 3 §§ ... D

lnvestors, Defendants

 

 

 

 

Complaint
Plaintiff;

(i) worked on the City of Amarillo CoC ad hoc committee partially funded by the federal
government and said ad hoc committee recommended that the City of Amarillo create a
low barrier shelter and that the City of Amarillo has failed to do so and the City of
Amarillo has failed to consider the recommendations of their ad hoc committee. Plaintiff
is entitled to relief, and plaintiff;

(ii) worked on the federally funded City of Arnarillo Downtown Revita|ization CoC
sub-committee and that the recommendation of said subcommittee was the creation of a
low-barrier shelter and that said recommendation is pending and that City of Amarillo
decisions to compel unsheltered individuals into shelters not designated as low barrier is
premature. Plaintiff is entitled to relief and;

(iii) work on the federally funded CoC Downtown Revitalization sub-committee indicates that
downtown revitalization projects are entering their final phase while the City of Amarillo is
simultaneously withholding the names of secret investors in downtown revitalization
(cata|yst) projects. Plaintiff is entitled to relief and;

(iv) that the City of Amari||o was attempting to compel unsheltered individuals (particular|y
from the Christ Church Camp of New Beginnings) into a shelter not designated as low
barrier shelter while at the exact same moment hostages at said shelter were being
seized, shot and denied the right of the people to be secure in their persons and further
denying any persons within its jurisdiction the equal protection of the |aws. Plaintiff is
entitled to relief and has;

(v) interviewed and performed preliminary intake and assessment of individuals that have
been assaulted in shelters that the City of Amaril|o is attempting to compel unsheltered
individuals into, particularly from Christ Church Camp of New Beginnings, thereby
denying unsheltered individuals the right of the people to be secure in their persons and
further denying any person within its jurisdiction the equal protection of the laws. Plaintiff
seeks relief and has;

 

 

 

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(vi) interviewed and performed preliminary intake and assessment of individuals whose
property was stolen while in shelters which the City of Amarillo is attempting to compel
unsheltered individuals into, particularly from Christ Church Camp of New Beginnings,
thereby denying the right of people to be secure in their effects further denying any
person within its jurisdiction the equal protection of the laws. Plaintiff is entitled to relief
and has;

(vii) volunteered during numerous activations of a warming-station which protected many
individuals (including the plaintiff) that were sickened by exposure to airborne
communicable diseases spread in the confined spaces of shelters. The City of Amarillo
is attempting to compel unsheltered individuals, particularly from Christ Church Camp of
New Beginnings, into shelters. This creates a serious public health hazard and denies
any and all persons within its jurisdiction the equal protection of the laws. Plaintiff seeks
relief and has;

(viii) interviewed and performed preliminary intake and assessment of unsheltered individuals
unwilling and unable to reside in the faith-based shelters the City of Amarillo is
attempting to compel unsheltered individuals into, thereby creating an establishment of
religion. Plaintiff seeks relief and fundamentally challenges the integrity of;

(ix) the business director of a shelter receiving federal funds, which in testimony before the
Amarillo City Council, indicated that homelessness was a personal choice and that
homelessness can be solved by making the homeless even more uncomfortab|e. The
plaintiff is entitled to relief and demands that;

(x) the City of Amarillo stop compelling unsheltered individuals to reside in faith-based
shelters, terminate legal proceedings against Christ Church Camp of New Beginnings,
take concrete steps to establish a municipal low-barrier shelter and identify catalyst
project investors driving the homeless round-up.

Date: 02/27/2018

 

Rusty Done|son
Printed name

1918 S Crockett
Address

Rustv.Donelson.FNB@dmail.com
E-mail Address

(806) 341 .8372
Telephone Number

 

 

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JS 44 (Rev. 06/17) - TXND (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form approved by the J ud1c1al Conference of the United States m September 1974 is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet

(SEE INSTRUCT]()NS ON NEXT PAGE OF THIS FORM)

 

1. (a) PLAINTIFFS

(b) County of Residence of First Listed Plaintiff

0 `€

(EXCEPTIN U.S. PLAINTIFF CASE.S)

(C) AUOm€yS (F'irm Name, Address, and Telephone Number)

DEFENDANTS

NOTE:

Attomeys (lme)wn)

 

County of Residence of First Listed Defendant

r-` `

/ /`

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

Il. BASIS OF JURISDICTION (P/ace an "X" in One Bax only)

q 1 U S Govemment

Plaintiff

0 2 U.S. Government
Defendant

 

110 Insurance

120 Marine

130 Miller Act

140 Negotiable Instrument

150 Recovery of Overpayment
& Enf`orce1nentof'1udg1nent

151 Medicare Act

152 Recovery of Defaulted
Student Loans
(Excludes Veterans)

153 Recovery of Overpawnent
of Vetcran`s Benet`lts

160 Stoekho|ders’ Suits

190 Other Contract

195 Contract Product Liability

196 Franchise

DU DUUDE|

UE|E|C| U

 
 

D 210 Land Condemnation

Cl 220 Forec|osure

C] 230 Rent Lease & Ejectment
D 240 'I`orts to Land

C| 245 Tort Product Liability
Cl 290 All Other Real Property

IV NATURE OF UIT (Place an "X" in One Box Only)

 

l 3 Federal Question
(U.S. Governmem Nr)i a Party)

g 4 Diversity
(Indic'ale Cilizenship ofParIr`e,r in llem ll])

 

PERSONAL INJURY PERSONAL INJURY
ij 310 Airplane ij 365 Personal Injury -
l'J 315 Airplane Product Product Liability
Liability Cl 367 Health Care/

13 320 Assault, Libel & Pharmaceutical
Slander Personal Injury

ij 330 Federal Employers’ Product Liability
Liability Cl 368 Asbestos Personal

U 340 Marine Injury Product

D 345 Marine Product Liability
Liability PERSONAL PROPERTY

ij 350 Motor Vehicle
D 355 Motor Vehicle

D 370 Other Fraud
D 371 Truth in Lending

Product Liability 0 380 Other Personal
13 360 Other Personal Property Damage

lnjury ij 385 Property Damage
ij 362 Personal Injury - Product Liability

Habeas Corpus:
13 463 Alien Detainee
ij 510 Motions to Vacate

m 440 Other Civil Rights
Cl 441 Voting
D 442 Employment

Q 443 Housing/ Sentence
Accommodations D 530 General

[J 445 Amer. w/Disabilities - ij 535 Death Penalty
Employment Other:

D 446 Amer. w/Disabilities - 13 540 Mandamus & Other
Other Cl 550 Civil Rights

13 555 Prison Condition

D 560 Civi| Detainee -
Conditions of
Confmement

Cl 448 Education

f'if~» 13 790 Other Labor Lit.igation

   

 

(For Diversity Case.r Only)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One B¢)xfor Plaintiff

and One Boxfar Defendant)

PTF DEF PTF DEF
Citizen ofThis State Cl l D 1 Ineorporated or Principal Place Cl 4 D 4
ofBusiness ln This State
Citizen of Another State D 2 Cl 2 Incorporated and Principal Place ij 5 Cl 5
of Business In Another State
Citizen or Subject ofa D 3 CJ 3 Foreign Nation D 6 ij 6

Foreign Country

   
 

Cl 625 Drug Related Seizure
ofProperty 21 USC 881
E] 690 Other

 

[l 710 Fair Labor Standards
Act

111 720 Labor/Management
Relations

EJ 740 Railway Labor Act

U 751 Family and Medical
Leave Act

D 791 Employee Retirement
lncome Security Act

    

D 4 2Naturalzat10n pp 1cat1on
ij 465 Other lmmigration
Actions

 

ci 422 Appeai 28 usc 158
0 423 withdrawal
28 usc 157

 

.e ' _1
ij 820 Copyrights
ij 830 Patent
ij 835 Patent - Abbreviated
New Drug Application
[l 840 Trademark

C] 861H1A(1395ft)

Cl 862 Black Lung (923)

Cl 863 DIWC/DIWW (405(g))
D 864 SSID Title XVI

[] 865 RS[ (405(g))

 

ij 870 Taxes (U.S. Plaintiff
or Defendant)

D 871 IRS_Third Party
26 USC 7609

 

Click here for Nature ot` Suit Code Descritions

C| 375 False Claims Act

ij 376 Qui Tam (31 USC
3729(a))

D 400 State Reapportionment

ij 410 Antitr'ust

13 430 Banks and Banking

Cl 450 Commerce

Cl 460 Deportation

ij 470 Racketeer Influenced and
Con'upt Organizations

C'l 480 Consumer Credit

13 490 Cable/Sat TV

Cl 850 Securities/Commodities/
Exchange

D 890 Other Statutory Actions

El 891 Agricultural Acts

ij 893 Environmental Matters

13 895 Freedom of Information
Act

Cl 896 Arbitration

Cl 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

Cl 950 Constit\xtiona]ity of
State Statutes

 

V. ORIGIN (P/ace an “X" in Om' Br)x Only)

N l Original El 2 Removed from l:] 3 Remanded from Cl 4 Reinstated or Cl 5 Transfen»ed from 13 6 M_ultidistrict CI 8 Multidistrict
Proceeding State Court Appellate Court Reopened Ano;her Djsm¢t Litigation - Litigation -
(rpecify) Tra.nsfer Direct File

 

VI. CAUSE OF ACTION

VII. REQUESTED IN

Cite the UtS. Civil Statute under which you are filing (Da nor cite jurisdictional statutes unless diversily):

 

Brief description of cause:
d .'u .’ .' .
ij CHECK IF TH¢IS A CLASS ACTION

 

an /5/,~2,, ¢Wf /¢¢2,)

DEMAND $

CHECK YES only if demanded in complaint

 

 

 

 

COMPLAINT: UNDER RULE 23, F-R.Cv-P. JURY DEMAan cl Yes ElNo

VIII. RELATED CASE(S) (
S ' .'i 't' . .`

IF ANY ge 'm rm law JuDGE DocKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD

2 ~ 2 7 ~ 2 €’ 5’
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

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JS 44 Reverse (Rev. 06/17) - TXND (Rev. 06/17)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

I.(a)

(b)

(c)

II.

1II.

IV.

VI.

VII.

VIlI.

 

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of` pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency,

use only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
then the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at

the time of filing. In U.S. plaintiff cases, enter the name of` the county in which the first listed defendant resides at the time of filing. (NOTE: ln land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment,

noting in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.CV.P., which requires that jurisdictions be shown in pleadings Place an
"X" in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff (l) Jurisdiction based on 28 U,S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

F ederal question (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
precedence, and box l or 2 should be marked.

Diversity of citizenship (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark
this section for each principal party.

Nature of Suit. Place an "X" in the appropriate box. lf there are multiple nature of suit codes associated with the case, pick the nature of suit
code that is most applicable Click here for: Nature ofSuit Code Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (l) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
When the petition for removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
date

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court, Use the reopening date as the filing date.
'I`ransferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section l404(a). Do not use this for within district transfers or
multidistrict litigation transfers.

Multidistrict Litigation - Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation - Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite
jurisdictional statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If a related case exists, Whether pending or closed,

insert the docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: l) involves some or all of the
same parties and is based on the same or similar claim; 2) involves the same property, transaction, or event; 3) involves substantially similar issues of
law and fact; and/or 4) involves the same estate in a bankruptcy appeal.

Date and Attorney Signature, Date and sign the civil cover sheet.

 

